Case 0:10-cr-60194-JIC Document 565 Entered on FLSD Docket 11/29/2010 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 10-60194-CR-COHN/SELTZER

  UNITED STATES OF AMERICA,

  v.

  STEVEN STOLL, et al.,

             Defendant.
  ____________________________/

   ORDER GRANTING GOVERNMENT’S MOTION TO STRIKE SUBPARAGRAPH (c)
          OF PARAGRAPH 15 OF COUNT ONE OF THE INDICTMENT

        THIS CAUSE is before the Court on the Government’s Motion to Strike

  Subparagraph (c) of Paragraph 15 of the Indictment [DE 450]. The Court has

  considered the motion, Mr. Stoll’s response [DE 506], the Government’s reply [DE 532],

  and is otherwise advised in the premises.

        The Government asks this Court to strike an object of a multi-object conspiracy

  Count One. The Government maintains that subparagraph (c) of paragraph 15, which

  alleges making a false statement on a HUD1, was unintentionally included. Since the

  Government seeks to narrow, not widen the issues the Defendant is called upon to

  answer, the Court will grant the Government’s motion. United States v. Thomas, 398

  F.2d 531 (5th Cir. 1968). The Eleventh Circuit in United States v. Diaz, 690 F.2d 1352,

  1356 (11th Cir. 1982) held:

        An indictment may charge a conspiracy with more than one distinct
        substantive offense, United States v. Avila-Dominguez, 610 F.2d 1266, 1270
        (5th Cir.), cert. denied, 449 U.S. 887 (1980); Overstreet v. United States, 321
        F.2d 459, 461 (5th Cir. 1963), cert. denied, 376 U.S. 919 (1964), and the
        withdrawal of distinct portions of such a conspiracy charge from jury
        consideration is permissible, Salinger v. United States, 272 U.S. 542 (1926),
        if the effect is to narrow the issues a defendant is called on to meet. Thomas
        v. United States, 398 F.2d 531 (5th Cir. 1967). The Supreme Court has held
Case 0:10-cr-60194-JIC Document 565 Entered on FLSD Docket 11/29/2010 Page 2 of 2




        that withdrawing a part of a charge from the consideration of the jury does
        not work an amendment of the indictment, provided nothing is thereby added
        to the indictment. Salinger v. United States, 272 U.S. at 548-49; Overstreet,
        321 F.2d at 461; see 1 C. Wright & A. Miller, Federal Practice and
        Procedure, § 127 at 274-75 (1969). Such was the case here.

        Accordingly, it is thereupon

        ORDERED AND ADJUDGED that the Government’s Motion to Strike

  Subparagraph (c) of Paragraph 15 of the Indictment [DE 450] is hereby GRANTED.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

  Florida, on this 29th day of November, 2010.




  Copies provided to:
  Counsel of record via CM/ECF




                                             2
